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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

MATRIX RESOURCES, INC.,

              Plaintiff,
                                                CIVIL ACTION NO.
v.                                              ______________________

ANDREW McKNIGHT and
PIVOCITY, LLC,

              Defendants.


                                   COMPLAINT

       Plaintiff MATRIX Resources, Inc. (“Plaintiff” or “MATRIX”) files this

Complaint against Defendants Andrew McKnight (“McKnight”) and Pivocity, LLC

(“Pivocity”) (collectively “Defendants”) for injunctive relief and damages and shows

the Court as follows:

                                 INTRODUCTION

     1. MATRIX employed McKnight as a Senior Agile Coach and Delivery Manager

       from April 2017 until McKnight’s voluntary resignation from MATRIX effective

       December 4, 2018.

     2. McKnight formed a competing company, Pivocity, during his employment with

       MATRIX in 2018.       McKnight and Pivocity began performing services in

       competition with MATRIX after McKnight resigned from his MATRIX
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   employment. On information and belief, McKnight and Pivocity began soliciting

   services in competition with MATRIX before McKnight’s resignation from

   MATRIX’s employment.         Since leaving MATRIX, McKnight has solicited

   MATRIX clients and performed competitive services in violation of his restrictive

   covenants and has further utilized Pivocity to solicit and/or perform competitive

   services in violation of McKnight’s restrictive covenants. McKnight has further

   violated his confidentiality obligations to MATRIX, and Defendants have utilized

   that confidential business information for profit.

3. MATRIX brings this action to enforce the restrictive covenants and protect its

   trade secrets and confidential information. MATRIX seeks injunctive relief to

   restrain and enjoin McKnight’s and Pivocity’s unlawful competition and

   solicitation and to recover damages for the injuries Defendants have caused

   MATRIX.

                                    THE PARTIES

4. MATRIX is a domestic profit corporation with its principal office at 1000

   Abernathy Road, NE, Suite 500, Atlanta, Georgia 30328.

5. McKnight is an adult resident of Texas and may be served with process at his

   residence at 4119 Kirkmeadow Lane, Plano, Texas 75287 or wherever he may be

   found.


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6. Pivocity is a Texas Limited Liability Corporation that registered with the Texas

   Secretary of State on November 26, 2018. Pivocity may be served with process

   via its registered agent McKnight at 4119 Kirkmeadow Lane, Plano, Texas 75287.

                           JURISDICTION AND VENUE

7. This Court has jurisdiction over the claims at issue pursuant to 28 U.S.C. §1332

   because complete diversity of citizenship exists between Plaintiff and Defendants

   and the amount in controversy is in excess of $75,000.00, exclusive of interest

   and costs.

8. McKnight is subject to the jurisdiction of this Court because McKnight entered

   into the Professional Services Employment Agreement with MATRIX on April

   6, 2017, a copy of which is attached as Exhibit A (“the Agreement”); provided

   services on behalf of and/or generated income in Georgia while working for

   MATRIX; routinely communicated with MATRIX’s principal office in Georgia,

   reported directly to MATRIX’s Vice President of Professional Services in

   Georgia, and accessed its computer systems; currently advertises and offers

   services to businesses including those in Georgia; and specifically agreed that his

   obligations under the Agreement were subject to Georgia law. In addition,

   McKnight is otherwise subject to the jurisdiction of this Court based on his

   contacts with the State of Georgia.


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9. Pivocity is subject to the jurisdiction of this Court because its principal and owner

   McKnight engaged in the conduct outlined in Paragraph 7, it advertises and offers

   services to businesses nationwide including those in Georgia, and it maintains

   business contacts with businesses in Georgia. In addition, Pivocity is otherwise

   subject to the jurisdiction of this Court based on its contacts with Georgia.

10.Defendants are also subject to the jurisdiction of this Court due to their actions

   resulting in damage to Plaintiff in this state and because they regularly solicit

   business in this state. Venue is proper in this District pursuant to 28 U.S.C.

   §§1391(b)(2) and/or (3).

                                     Relevant Facts

11. MATRIX provides professional staffing, agile transformation, and digital

   transformation services to its clients in Georgia and across the United States.

   With respect to agile transformation services, MATRIX’s professional services

   group provides discovery, development, tailored training, transformation

   coaching, leadership enablement, and other services to its clients in Georgia and

   across the United States.

12.On or about April 6, 2017, McKnight signed the Agreement and became a

   professional services employee at MATRIX. McKnight’s primary area of focus

   at MATRIX was to provide and upsell Agile services to MATRIX’s clients.


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13. Among other provisions, the Agreement contains restrictive covenants including

   non-solicitation, non-competition and confidentiality provisions.

14. As a professional services employee, McKnight marketed and provided

   MATRIX consulting and training services to multiple MATRIX clients. During

   McKnight’s employment, MATRIX provided confidential and trade secret

   information to McKnight for use in his professional services work with MATRIX

   clients.

15. McKnight customarily and regularly solicited clients and prospective clients for

   MATRIX. He also customarily and regularly engaged in obtaining orders or

   contracts for MATRIX’s professional services.

16.McKnight’s responsibilities included providing services to MATRIX’s client

   Hilti, Inc., with which he had “Material Contact” within the meaning of the

   Agreement. By virtue of the highly specialized nature of MATRIX’s services and

   his work for MATRIX, McKnight developed selective, specialized skills and

   abilities.

17.As a MATRIX employee, McKnight was given access to and possessed

   confidential and trade secret information important to MATRIX’s business.

   McKnight’s employment with MATRIX gave him possession of MATRIX’s

   client contact information, pricing, and other client information.


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18.Because of his work for MATRIX, McKnight had exposure to MATRIX clients

   Hilti, Inc., AmerisourceBergen, and others and developed a high level of influence

   with MATRIX’s clients.

19. In November 2018, McKnight formed Pivocity and registered it as a Texas

   Limited Liability Corporation, naming himself Pivocity’s Registered Agent.

20.With knowledge of his contractual obligations, McKnight moved ahead with his

   plan to start his own business, Pivocity, end his MATRIX employment, and

   provide the same services to Hilti, Inc. through Pivocity.

21.In December 2018, immediately after resigning from MATRIX’s employment

   McKnight acknowledged the restrictive covenants under the Agreement and

   asked MATRIX whether it would consider a “buy out” from his Agreement.

   MATRIX refused to agree to any change to the Agreement and reminded

   McKnight of his contractual obligations in correspondence. Defendants also

   solicited Hilti, Inc. to provide the same services McKnight had been providing to

   Hilti, Inc. while employed by MATRIX and further encouraged Hilti, Inc. to ask

   MATRIX for a rate reduction and removal of non-solicitation language.

22.On information and belief McKnight and/or Pivocity had direct contact with

   MATRIX client(s) regarding his plan to compete with MATRIX and solicited

   competitive services with MATRIX client(s) while McKnight was still employed


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   with MATRIX.

23.McKnight has continued to provide Agile training services to Hilti, Inc. since his

   separation date with MATRIX in direct violation of his restrictive covenants.

   McKnight and Pivocity have further solicited Hilti, Inc. and at least one other

   MATRIX client with whom McKnight had “Material Contact” within the

   meaning of the Agreement for additional services. McKnight and Pivocity placed

   at least one other employee, Chris Risen, in a full-time consultant role at Hilti,

   Inc. and have sought to place additional employees at MATRIX clients.

24.On information and belief McKnight is in possession of MATRIX’s confidential

   information and has shared that information with, at minimum, Pivocity.

25.McKnight and Pivocity continue to engage in solicitation and/or competition

   prohibited under the terms of the Agreement.

   COUNT I: BREACH OF FAITHFUL SERVICE OBLIGATIONS IN
   AGREEMENT

26.MATRIX repeats and re-alleges each and every allegation set forth above as if

   fully set forth herein.

27.The Agreement imposed on McKnight the requirement in Paragraph 2 that he

   provide MATRIX with “Faithful Service” during his employment. In Paragraph

   2 McKnight agreed that he would “avoid conflicts of interest while employed”

   by MATRIX, and that “[i]t will be a conflict of interest for [McKnight] to
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   pursue business activities that compete with MATRIX while employed.”

   Similarly, in Paragraph 7 of the Agreement, McKnight agreed that he would not

   provide “Services” to any MATRIX client which are the same as the “services”

   he was providing to any MATRIX client under the terms of the Agreement.

28.The obligations in Paragraphs 2 and 7 of the Agreement are valid and

   enforceable.

29.McKnight blatantly breached these obligations.

30.Upon information and belief, McKnight, while employed with MATRIX, was

   also engaged in pursuing business activities that compete with MATRIX and

   was also employed and engaging in business with Pivocity, a direct competitor

   of MATRIX.

31.As a direct and proximate result of McKnight’s breaches, MATRIX has

   suffered and continues to suffer damages.

32.MATRIX is entitled to an award of any and all damages already caused

   by McKnight’s breaches of his obligations in an amount to be determined and

   proven at the time of trial. MATRIX is further entitled to recover its attorneys’

   fees and the costs of this litigation under the express terms of the Agreement.




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33.Alternatively, McKnight has acted in bad faith and has caused MATRIX

   unnecessary trouble and expense. MATRIX is therefore entitled to an award of

   its attorneys’ fees and the costs of this litigation pursuant to O.C.G.A. § 13-6-11.

COUNT II: BREACH OF THE NONSOLICITATION COVENANT IN THE
                              AGREEMENT
34.MATRIX repeats and re-alleges each and every allegation set forth above, as if

   fully set forth herein.

35.Among other duties, the Agreement imposes on M c Kn i g h t certain

   restrictions with respect to MATRIX clients as set forth in Paragraph 6 of the

   Agreement.

36.Paragraph 6 of the Agreement is valid and enforceable under Georgia law.

37.Paragraph 6 of the Agreement prohibits McKnight, for a period of twelve

   months after his voluntary termination from MATRIX’s employment, from

   “directly or indirectly” and on his own or Pivocity’s behalf, “solicit[ing] or

   attempt[ing] to solicit business from any Client … of MATRIX with whom

   [McKnight] had Material Contact for the purpose of providing services which

   are competitive to the type of Services provided to such Client under this

   Agreement.”

38.McKnight has breached and is in breach of Paragraph 6 of the Agreement.




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39.At minimum, McKnight solicited Hilti, Inc. and AmerisourceBergen, two

   MATRIX clients with whom he had “Material Contact” during his employment

   and for whom he provided “Services” on MATRIX’s behalf under the

   Agreement for the purpose of providing competitive services.

40.As a direct and proximate result of McKnight’s breach, MATRIX has

   suffered and continues to suffer damages.

41.MATRIX should recover an award of any and all damages already caused

   by McKnight’s breach of Paragraph 6 of the Agreement in an amount to be

   determined and proven at the time of trial. MATRIX is also entitled to recover

   its attorneys’ fees and the costs of this litigation under the terms of the

   Agreement.

42.Alternatively, McKnight has acted in bad faith and has caused MATRIX

   unnecessary trouble and expense. MATRIX is therefore entitled to an award of

   its attorneys’ fees and the costs of this litigation pursuant to O.C.G.A. § 13-6-11.

      COUNT III: Breach of Confidentiality Provisions in the Agreement

43.MATRIX repeats and re-alleges each and every allegation set forth above, as if

   fully set forth herein.

44.Pursuant to Paragraph 4 of the Agreement, McKnight acknowledged his duty of

   confidentiality. Specifically, McKnight understood that he would be given access


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   to MATRIX’s confidential business information and trade secrets as part of his

   employment and agreed “that during employment with MATRIX and for so long

   as Confidential Information or a Trade Secret remains Confidential Information

   or a Trade Secret … [McKnight] shall not, directly or indirectly, divulge, disclose,

   communicate, transfer or make use of any Confidential Information or Trade

   Secrets of MATRIX or any Client other than in the performance of [McKnight’s]

   duties under this Agreement.”

45.In Paragraph 8 of the Agreement, McKnight also agreed to return all MATRIX

   and/or Client property upon termination of his employment, including any such

   confidential business information.

46.McKnight’s obligations in Paragraphs 4 and 8 of the Agreement are valid and

   enforceable.

47.McKnight breached his obligations under Paragraphs 4 and 8 of the Agreement

   by, at minimum, providing MATRIX’s confidential business information to

   Pivocity during his employment with MATRIX and/or after his employment with

   MATRIX ended and by failing to return the information upon his separation date.

   MATRIX reasonably believes that McKnight has misappropriated and misused

   MATRIX’s confidential information.




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48.As a direct and proximate result of McKnight’s breaches of Paragraphs 4 and 8

   of the Agreement, MATRIX has suffered and continues to suffer damages.

49.MATRIX is entitled to an award of any and all damages already caused

   by McKnight’s breaches in an amount to be determined and proven at the time

   of trial. MATRIX is also entitled to recover its attorneys’ fees and the costs of

   this litigation under the terms of the Agreement.

50.Alternatively, McKnight has acted in bad faith and has caused MATRIX

   unnecessary trouble and expense. MATRIX is therefore entitled to an award of

   its attorneys’ fees and the costs of this litigation pursuant to O.C.G.A. §13-6-11.

              COUNT IV: McKnight’s Breach of Fiduciary Duties

51.MATRIX repeats and re-alleges each and every allegation set forth above, as if

   fully set forth herein.

52.McKnight’s position while employed by MATRIX included hi m being a

   primary point of contact for many of MATRIX’s clients, including prospective

   clients.

53.As such, it was common for McKnight to speak on behalf of MATRIX,

   present MATRIX’s position to existing and prospective clients, and make

   commitments on MATRIX’s behalf.




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54.In addition, it was routine for McKnight to negotiate terms of a g reements,

   such as agreements for additional training services, with clients independently,

   on MATRIX’s behalf.

55.McKnight had the authority to speak on MATRIX’s behalf and to bind MATRIX

   to terms regarding professional services that he negotiated independently and

   therefore acted as MATRIX’s agent.

56.As such, McKnight owed MATRIX a duty of loyalty, good faith, and trust, which

   included, but was not limited to, a duty while employed by MATRIX to act in

   MATRIX’s best interest and refrain from competing with MATRIX or engaging

   in conduct detrimental to MATRIX.

57.McKnight breached these duties by (1) soliciting MATRIX’s clients, on behalf

   of himself and/or Pivocity while still employed with MATRIX; (2) starting

   Pivocity and his employment with Pivocity while still employed with MATRIX;

   and (3) engaging in other similar acts in direct competition with MATRIX while

   he was still employed with MATRIX.

58.As a direct and proximate result of McKnight’s disloyal and unlawful

   conduct, MATRIX has suffered damages, including the profits MATRIX would

   have earned on any sales of professional services lost as a result of McKnight

   diverting opportunities to himself and/or Pivocity while he was still employed


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   by MATRIX, as well as the compensation paid by MATRIX to McKnight while

   he was acting for the interest of himself and/or Pivocity, a competitor, rather

   than MATRIX.

59.MATRIX is entitled to an award of any and all damages caused by

   McKnight’s breaches of his fiduciary duty and duty of loyalty, the exact amount

   of which will be demonstrated and proved at the time of trial.

60.McKnight profited from his breaches of his fiduciary duty and duty of loyalty

   to MATRIX and should be required to pay such profits to MATRIX.

61.McKnight’s conduct exhibits willful misconduct, malice, fraud, wantonness,

   oppression, or that entire want of care that would raise the presumption of

   conscious indifference to consequences, such that MATRIX is entitled to punitive

   damages in an amount not less than $100,000.

                     COUNT V: Pivocity’s Tortious Interference

62.MATRIX repeats and re-alleges each and every allegation set forth above as if

   fully set forth herein.

63.McKnight is subject to the restrictive covenants in the Agreement.

64.Pivocity is aware that McKnight is subject to these obligations set forth in the

   Agreement, and that McKnight sought to be released from such obligations and

   MATRIX refused.


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65.Under the Agreement, McKnight agreed not to engage in certain competitive

   activities, including but not limited to solicitation of MATRIX clients, for

   twelve months following the December 2018 end of his employment.

66.Moreover, under the Agreement, McKnight agreed he would not engage in

   competitive conduct while employed with MATRIX.

67.McKnight also agreed not to use or disclose MATRIX’s trade secrets or

   confidential information in the Agreement.

68.Pivocity has intentionally interfered with the Agreement by, among other actions,

   aiding and facilitating McKnight in competing with MATRIX and breaching his

   obligations in the Agreement.

69.Acting purposefully and with malicious intent, Pivocity intentionally induced

   McKnight to breach his obligations to MATRIX during and after his

   employment with MATRIX.

70.As a result of Pivocity’s improper actions and wrongful conduct, MATRIX has

   been and will continue to be damaged in an amount to be determined at trial.

71.MATRIX is entitled to an award of any and all damages already caused by

   Pivocity’s tortious interference in an amount to be determined and proven at the

   time of trial.




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72.Pivocity has acted in bad faith and has caused MATRIX unnecessary trouble

   and expense. MATRIX is therefore entitled to an award of its attorneys’ fees and

   the costs of this litigation pursuant to O.C.G.A. § 13-6-11.

73.Pivocity’s conduct exhibits willful misconduct, malice, fraud, wantonness,

   oppression, or that entire want of care that would raise the presumption of

   conscious indifference to consequences, such that MATRIX is entitled to

   punitive damages in an amount not less than $100,000.

              PRELIMINARY INJUNCTIVE RELIEF SOUGHT

74.McKnight is breaching his contractual and legal obligations to MATRIX by

   servicing MATRIX clients and              soliciting   competitive   services   and

   misappropriating MATRIX confidential, proprietary, and secrets information

   learned during his employment with MATRIX. There is an, actual and imminent

   threat that McKnight will continue to injure MATRIX irreparably if an injunction

   is not entered enforcing McKnight’s contractual and legal obligations to

   MATRIX.

75.McKnight formed Pivocity while he was employed by MATRIX and

   immediately began usurping business opportunities in violation of the law.




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76.Together McKnight and Pivocity have solicited, prepared proposals for and/or

   performed work for MATRIX clients during and/or after McKnight’s

   employment with MATRIX.

77.MATRIX has suffered irreparable harm as a result of Defendants’ breaches of

   their contractual and legal obligations.

78.Such continuing injury cannot be quantified or remedied through monetary

   damages because it includes not only the loss of business, but also the loss of

   goodwill and confidentiality of information, both of which have value.

79.If not restrained, Defendants’ actions will continue to cause irreparable harm and

   damages to MATRIX.         Accordingly, for the factual reasons alleged above,

   MATRIX seeks a preliminary and permanent injunction as outlined in the

   following paragraphs and MATRIX respectfully requests as follows:

        (A)    For preliminary injunctive relief restraining McKnight from using in

        any manner, or otherwise disclosing to any third party, any and all

        information in his possession, custody, or control which McKnight received

        or took from MATRIX;


        (B)    For an order enjoining and restraining McKnight from violating

        his restrictive covenants in the Employment Agreement; and



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           (C)    For an order enjoining Pivocity from using in any manner, or

           otherwise disclosing to any third party, all information in McKnight’s or

           Pivocity’s possession, custody or control which McKnight or Pivocity

           received or took from MATRIX.


                              PRAYER FOR RELIEF


         Plaintiff seeks judgment against Defendants as follows:


A) That McKnight be preliminarily and permanently enjoined from further violations

of the restrictive covenants in the Employment Agreement;


B) That Defendants be preliminary and permanently enjoined from further use or

disclosure of MATRIX’s trade secrets and/or confidential information;


C) For an order requiring McKnight and anyone acting in concert with him,

including Pivocity, to return to MATRIX, and make no use of, all property and

information belonging to MATRIX;


D) That MATRIX be awarded a judgment against Defendants in an amount to be

determined to include all damages and proved at the time of trial;




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E) For an award of Plaintiff’s reasonable attorneys’ fees and expenses of litigation

incurred in pursing this Complaint;


F) That Plaintiff be awarded its costs of suit and an assessment of interest, including


prejudgment interest; and


G) For such other relief as this Court deems just, proper and equitable under the

circumstances.



      Respectfully submitted this 8th day of May, 2019.

                                                /s/ Tracey T. Barbaree
                                                Tracey T. Barbaree
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                                                Attorneys for Plaintiff




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                       CERTIFICATE OF COMPLIANCE
The undersigned counsel certifies that the foregoing Complaint has been prepared in

Times New Roman 14 point font and is in compliance with Local Rule 5.1 of this

Court.



            This 8th day of May, 2019.
                                              /s/ Tracey T. Barbaree
                                              Tracey T. Barbaree




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